Case 9:22-cv-81294-AMC Document 151 Entered on FLSD Docket 10/20/2022 Page 1 of 2




     By ECF and Courtesy Copy                                                October 20, 2022

     Judge Raymond J. Dearie
     United States District Court
     Eastern District of New York
     225 Cadman Plaza East
     Brooklyn, NY 11202

     Re:     Donald J. Trump v. United States of America, Case No. 22-81294-CIV-CANNON
             – Filter A Documents Respecting Document Categorization and Executive
             Privilege

     Dear Judge Dearie:

            As noted in the Defendant’s October 20, 2022 submission (ECF 150) the parties
     met and conferred regarding Filter A documents on October 19, 2022. Up until receipt of
     the Defendant’s October 20, 2022 filing, we anticipated that there would be a joint
     submission and an exchange between the parties preceding that joint submission to confirm
     both parties’ positions. This is consistent with the process that was undertaken for the
     October 3, 2022 joint submission with the Filter Team. Instead, the government filed its
     own log and presented its legal positions on the documents for which there is dispute
     between the parties.

             Unfortunately, the log submitted by the government is not fully accurate as to the
     Plaintiff’s position on various documents.

           In light of these facts, the Plaintiff will file our position on the documents that remain
     in dispute by the close of business on October 24, 2022.

                                                     Sincerely,




                                                     James M. Trusty
                                                     Ifrah Law PLLC
                                                     1717 Pennsylvania Ave. NW, Suite 650
                                                     Washington, D.C. 20006

                                                    1
Case 9:22-cv-81294-AMC Document 151 Entered on FLSD Docket 10/20/2022 Page 2 of 2




                                              Telephone: (202) 524-4176
                                              Email: jtrusty@ifrahlaw.com

                                              Christopher M. Kise
                                              Chris Kise & Associates, P.A.
                                              201 East Park Avenue, 5th Floor
                                              Tallahassee, FL 32301
                                              Telephone: (850) 270-0566
                                              Email: chris@ckise.net

                                              Lindsey Halligan
                                              Florida Bar No. 109481
                                              511 SE 5th Avenue
                                              Fort Lauderdale, FL 33301
                                              Email: lindseyhalligan@outlook.com

                                              M. Evan Corcoran
                                              SILVERMAN|THOMPSON|SLUTKIN|
                                              WHITE, LLC
                                              400 East Pratt Street – Suite 900
                                              Baltimore, MD 21202
                                              Telephone: (410) 385-2225
                                              Email: ecorcoran@silvermanthompson.com

                                              Counsel for Plaintiff President Donald J.
                                              Trump


     CC:   Jay I. Bratt, jay.bratt2@usdoj.gov
           Julie A. Edelstein, julie.edelstein@usdoj.gov
           Anthony W. Lacosta, anthony.lacosta@usdoj.gov
           Stephen Marzen, Stephen.Marzen@usdoj.gov
           Juan Antonio Gonzalez, Jr., juan.antonio.gonzalez@usdoj.gov
           Benjamin Hawk, Benjamin.Hawk@usdoj.gov




                                             2
